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                                                    U.S. Department of Justice

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                                                    Direct Line: 202-252-7233


                                                    April 30, 2021

Via Fed Ex

Nicholas Smith
7 East 20th Street
Suite 4R
New York, NY 10003


                Re:   United States v. Ethan Nordean, Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       Following up on my email message yesterday regarding Mr. Nordean’s phone, please find
enclosed one thumb drive containing a forensic extraction of the phone. We will provide a
password for the thumb drive separately.

       Please contact me should you have any questions or concerns.

                                                  Sincerely yours,

                                                  CHANNING D. PHILLIPS
                                                  ACTING UNITED STATES ATTORNEY

                                           By:           /s/
                                                  Jason B.A. McCullough
                                                  Assistant United States Attorney
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Enclosure
